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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
               v.                                :   Crim. No. 21-CR-103 (CJN)
                                                 :
ROBERT PACKER,                                   :
                              Defendant.         :


                      JOINT MOTION TO CONTINUE SENTENCING

       The United States of America, by and through the United States Attorney for the District

of Columbia, and Robert Packer, the Defendant by and through his counsel, Stephen Brennwald,

respectfully move this Court to continue the sentencing set for June 22, 2022 in this matter for a

period of about thirty (30) days. The parties further move the Court to exclude the period of the

continuance from the computation of time under the Speedy Trial Act. In support of this motion,

the government now states the following:

       1.      On June 17, 2022, the undersigned counsel for the defendant contacted the Court

and the government with a request to continue the sentencing and time to file the defense’s

sentencing memorandum.

       2.      Mr. Brennwald has been having extreme computer failures and issues for several

weeks, and while trying to fix the problems, has not been able to adequately access his files or

been able to draft the sentencing memorandum.        These problems were set out more fully in a

lengthy email sent to this Court’s Courtroom Clerk and government counsel.

       3.      Because of those computer problems, the defense asked the government for help in

filing a Motion to Continue the sentencing hearing. The undersigned agreed to assist and due to

the circumstances, joins in the request for a continuance.
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       4.      Mr. Brennwald has relayed that the defendant concurs with this request for a

continuance.

       5.      The parties also move the Court to exclude the period from June 22, 2022, until the

continuance date from the computation of time under the Speedy Trial Act, 18 U.S.C. §

3161(h)(7)(A) and (B) for the reasons stated herein and because the continuance will allow the

defendant to meet with his client and prepare a comprehensive sentencing memorandum. The

parties also request the Court find that the ends of justice served by granting this continuance

outweighs the best interests of the public and the defendant in a speedy trial.

       WHEREFORE, for the foregoing reasons, the parties respectfully request that the Court

GRANT this unopposed, joint motion to continue the status conference, and request that the Court

exclude the period from June 22, 2022, until the next Court date from the computation of time

under the Speedy Trial Act.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                      BY:     /s/ Mona Lee M. Furst_____
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